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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

  TERRA TERSUS, LLC                           §
                                              §
         Plaintiff,                           §        CASE NO. 6:17-00697-RWS-KNM
                                              §
  vs.                                         §        LEAD CASE
                                              §
  XTO ENERGY, INC.                            §
                                              §
         Defendant.                           §



            JOINT MOTION FOR ENTRY OF AGREED DISCOVERY ORDER


        Plaintiff Terra Tersus, LLC (“Plaintiff”) and Defendants XTO Entergy, Inc. and National

 Oilwell Varco, L.P. (collectively, “Defendants”) jointly submit an Agreed Discovery Order,

 attached hereto as Exhibit A.

 Dated: April 13, 2018                        Respectfully submitted,

 /s/ Andrew G. DiNovo                             /s/ Charles E. Phipps
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                               CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was filed electronically in

 compliance with Local Rule CV-5(a). As such, this document was served on all counsel who are

 deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to FED. R.

 CIV. P. 5(d) and Local Rule CV-5(d) and (e), all other counsel of record not deemed to have

 consented to electronic service were served with a true and correct copy of the foregoing by

 email, on April 13, 2018.



                                           /s/ Andrew G. DiNovo________________
                                           Andrew G. DiNovo




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